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 1                                    INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by plaintiff against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                       JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiff is a victim of City of Maywood employees acting

20   under color of law and within the scope of their authority and pursuant to the policies
21   and practices of the entities.
22                                          VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFF
27
           4. Plaintiff Henry Fuentes is a resident of the County of Los Angeles, State of
28

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 1   California. At all times material to this complaint, plaintiff was a private person in the
 2   State of California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiff is informed and believes and thereon alleges that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiff is informed and believes and thereon alleges that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiff is informed and believes and thereon alleges that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages [hereinafter "policies and practices"] of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiff is informed and believes and thereon alleges that the defendants
28

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 1   Urbina and Does are individual officers or agents of the City of Maywood and/or the
 2   Maywood-Cudahy Police Department and/or others at the times of the acts herein
 3   complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiff; who therefore sues each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, plaintiff will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiff is informed and believes and thereon alleges that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                    INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                   FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11. On or about March 28, 2007, in front of the home of Henry Fuentes located
17
     at 4031 E. 58th Street in Maywood, California, Urbina and other unknown Doe officers
18

19   wrongfully detained, assaulted, battered, threatened, and prepared false official reports

20   for the purpose of covering up their wrongful actions and maliciously prosecuting Henry
21   Fuentes. The entire incident was witnessed by Mr.Fuentes five small children, aged four
22   to twelve. The children were very frightened and cried during the incident. On that day,
23   Urbina’s vehicle was blocking Mr. Fuentes driveway. Mr. Fuentes asked Urbina to
24
     move it because there were no parking spaces on the street and he had his five children
25
     in the car. Urbina refused. Mr. Fuentes then drove up his neighbor’s driveway and
26
     across his own grass into his own driveway and parked. Urbina walked up to Mr.
27
     Fuentes, forcefully twisted his arm behind his back and threw him against the police car.
28

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 1   Urbina then handcuffed Mr. Fuentes and placed him in the police car for about one hour.
 2   After that, Mr. Fuentes gave Urbina his driver’s license upon request. Urbina asked Mr.
 3   Fuentes if he would rather have a ticket or go to jail. Mr. Fuentes opted for the ticket
 4
     and received one for “driving on the sidewalk.” Urbina then told Mr. Fuentes to go
 5
     inside his house or Urbina would arrest him. Mr. Fuentes later sought medical treatment
 6
     at a clinic for the injury to his arm. Plaintiff is informed and believes and thereon
 7
     alleges that defendants committed these wrongful acts because they believed in the
 8

 9   existence of and actively participated in the code of silence in the Maywood/Cudahy

10   Police Department allowing them to engage in wrongful conduct and obstruct justice
11   with impunity.
12         12. Plaintiff is informed and believes and thereon alleges that defendants'
13   wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
14
     justice, kidnaping and bribery.
15
           13. Plaintiff is informed and believes there are numerous other similar victims
16
     of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
17
     because of their reasonable fears of retaliation, and/or because they are recent
18

19   immigrants who are reasonably concerned about the lawfulness of their status, and/or

20   because they are unable to find representation.
21         14. Plaintiff complied with the provisions of the California Tort Claims Act.
22                            The Maywood Police Department
23         15.    Plaintiff is informed and believes and thereon alleges that the
24
     Maywood-Cudahy Police Department has for years been a department composed of
25
     persons not conforming their conduct to the requirements of the law, or to established
26
     standards of proper police practices.
27
           16. Plaintiff is informed and believes and thereon alleges that the defendants,
28

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 1   officers and supervisors within the Maywood-Cudahy Police Department, invidiously
 2   singled out, targeted and violated the rights of recent immigrants and/or persons
 3   defendants perceived to be recent immigrants because defendants knew that recent
 4
     immigrants were easy victims, afraid to exercise their rights, and readily subject to
 5
     retaliation if they attempted to exercise their rights.
 6
           17. Plaintiff is informed and believes and thereon alleges that the violations of
 7
     individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
 8

 9   apples" but is instead the result of a culture of lawlessness permeating the entities and

10   constituting and/or proximately caused by their routine practices, including a code of
11   silence and conspiracy to obstruct justice.
12         18.     Plaintiff is informed and believes and thereon alleges that the
13   Maywood-Cudahy police department regularly hires police officers who have been
14
     pushed out of other law enforcement agencies for crimes or serious misconduct,
15
     including but not limited to: A former Los Angeles County sheriff's deputy terminated
16
     for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
17
     intimidating a witness; and an ex-Huntington Park officer charged with negligently
18

19   shooting a handgun and driving drunk.

20         19. Plaintiff is informed and believes and thereon alleges, based in part upon
21   allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
22   Pablo Cunningham, one of the named defendants in this action (and in many other
23   federal civil rights actions, as alleged below), that supervisors required officers to
24
     "engage in racial profiling and quotas," and that Cunningham was "threatened by [
25
     Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial
26
     profiling." Plaintiff is informed and believes that Cunningham was fired by the
27
     Maywood-Cudahy Police Department and then rehired because he threatened to expose
28

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 1   improprieties within the department.
 2         20. Plaintiff is informed and believes and thereon alleges, as pleaded by
 3   Defendant Cunningham his Superior Court complaint, that defendants covered up
 4
     misconduct including excessive force, promoted a code of silence and conspiracy to
 5
     obstruct justice, hired people unfit to be officers (for improper reasons, including but not
 6
     limited to their connections to other City officials), extorted people for sex, and took
 7
     kickbacks and bribes.
 8

 9         21. Plaintiff is informed and believes and thereon alleges that official public

10   records document that Pine resided in an apartment owned by the proprietors of a tow
11   yard. Plaintiff is informed and believes that the tow yard owner is Maywood Club Tow.
12         22. Plaintiff is informed and believes that Pine was permitted to live in the
13   apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
14
     and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
15
     Maywood-Cudahy Police Department, Does, and others.
16
           23. Plaintiff is informed and believes and thereon alleges that Maywood Club
17
     Tow and/or its owners and/or Does gave money and/or things of value to defendants as
18

19   a quid pro quo for the assistance and cooperation of defendants in causing the towing,

20   impoundment, and sale of vehicles.
21         24. Plaintiff is informed and believes that governing officials of the City of
22   Maywood received money and/or things of value from Maywood City Tow and/or its
23   owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
24
     implementing and/or protecting defendants' illicit vehicle towing scheme.
25
           25. Plaintiff is informed and believes that the Cities of Maywood and Cudahy
26
     and the Maywood-Cudahy Police Department did a land-office business with Maywood
27
     Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge
28

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 1   profits in doing so, and that Pine and other defendants were personally involved in this
 2   illicit, fraudulent and criminal practice, including the conduct of supposed hearings to
 3   determine whether vehicles should be returned to their owners. The involvement of
 4
     defendants including Pine in the hearings made them unfair and deprived vehicle owners
 5
     of due process of law.
 6
           26. Plaintiff is informed and believes and thereon alleges that existence of graft
 7
     and corruption, and the knowledge of the graft and corruption, within the
 8

 9   Maywood-Cudahy Police Department and the City of Maywood, including but not

10   limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,
11   made it difficult and/or impossible for any supervisor to exercise meaningful
12   supervision and/or to discipline officers who abused people and violated the law, for
13   fear that officers would blow the whistle on the corruption and nepotism including but
14
     not limited to the vehicle towing scheme, if any meaningful discipline were threatened
15
     or imposed and proximately caused, fostered and contributed to the code of silence and
16
     conspiracy to obstruct justice within the department.
17
           27. Plaintiff is informed and believes that the code of silence and defendants’
18

19   conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,

20   was each a proximate cause of defendants’ violations of Plaintiff’s rights.
21         28.    Plaintiff is informed and believes and thereon alleges that the
22   Maywood-Cudahy Police Department does not have adequate procedures to supervise
23   and/or discipline its employees, including but not limited to the following:
24
                  a.   Inadequate reporting requirements, including but not limited to
25
           inadequate use-of-force reporting;
26
                  b. Inadequate procedures for documenting and investigating citizens'
27
           complaints, including but not limited to refusing to accept citizens' complaints,
28

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 1         failing adequately to documents citizens' complaints, failing to investigate
 2         citizens' complaints, and failing to respond to court orders requiring defendants
 3         to disclose citizens' complaints.
 4
           29. Failures by all the supervisor, manager and policy-making defendants to
 5
     provide oversight over the Maywood-Cudahy police, to make them follow the
 6
     requirements of the Constitution, and/or to stop officers from making false charges
 7
     against innocent persons and lying to support false charges, among other things, make
 8

 9   those defendants liable to plaintiffs.

10         30. Plaintiff is informed and believes that all the injunctive relief prayed for in
11   this complaint is necessary to stop the wide-scale violation of peoples' rights by
12   defendants.
13                              Scope and Nature of Allegations
14
           31. Plaintiff is informed and believes and thereupon alleges that officials,
15
     supervisors, policy makers and other individuals with the authority to set or modify
16
     municipal and/or departmental policy, dejure or defacto, of Defendant City of
17
     Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
18

19   Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul

20   Pine, Cunningham and Does 1-30, complained of by Plaintiff.
21         32. Plaintiff is informed and believes and thereon alleges that at all times herein
22   mentioned, each of the defendants; including officials, supervisors, watch commanders
23   and other policy makers from Defendant City of Maywood; was the agent, employee or
24
     co-conspirator of one other, some, or all of their Co-defendants. Plaintiff is informed,
25
     believes and thereupon alleges that each of the defendants, acting individually, and in
26
     concert with each other, engaged in a common plan wrongfully to deprive Plaintiff of
27
     his rights to: security in Plaintiff’s person, property and effects, freedom from
28

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   1   unreasonable searches and seizures, equal protection and due process of law, and of the
   2   right to seek redress and obtain compensation for the wrongs committed against
   3   Plaintiff.
   4
              33. In doing each and all of the things herein mentioned, or neglecting or
   5
       intentionally failing to rectify said misconduct, each and all defendants were acting
   6
       pursuant to a defacto policy and within the scope of such agency, employment and
   7
       conspiracy and with full permission, knowledge, approval, ratification and support of
   8

   9   each other.

  10                                          Damages
  11          34. By reason of the aforementioned acts of defendants, and each of them,
  12   Plaintiff was injured in Plaintiff’s health, strength and activity, sustained great mental
  13   pain, suffering and shock to Plaintiff’s nervous systems, torment, anxiety, anguish,
  14
       humiliation and severe emotional distress, all to Plaintiff’s damage in an amount
  15
       according to proof at trial. As a proximate result of the foregoing wrongful acts of
  16
       defendants, and each of them, property belonging to Plaintiff was damaged and
  17
       destroyed in an amount according to proof.
  18

  19          35. Plaintiff is informed and believes and thereon alleges that, by reason of the

  20   aforementioned acts of defendants and each of them, Plaintiff was and/or will in the
  21   future be required to receivehospital, medical, doctor, nursing, dental and psychological
  22   care and treatment, and by reason thereof, will incur expenses related thereto in an
  23   amount according to proof at trial.
  24
              36. By reason of defendants’ wrongful acts, Plaintiff was injured in Plaintiff’s
  25
       businesses and/or property, including but not limited to being unable to work and earan
  26
       money, and Plaintiff will in the future be injured in Plaintiff’s business and/or property
  27
       by sustaining a loss and impairment of earnings and earning capacity, in an amount
  28

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   1   according to proof at trial. By reason of defendants’ code of silence and conspiracy to
   2   obstruct justice, defendants have damaged, impaired and reduced the value ofPlaintiff’s
   3   property interests, including but not limited to Plaintiff’s property interest in his right
   4
       and/or causes of action to obtain redress and compensation for the wrongs committed
   5
       against Plaintiff.
   6
             37. Defendants acts were done and committed by each individual defendant
   7
       knowingly, deliberately and maliciously with the intent to oppress, injure and harass
   8

   9   Plaintiff (with the exception of the claims by Plaintiff based on negligence) and with

  10   reckless indifference to Plaintiff’s civil rights, personal security and safety, and by
  11   reason thereof, Plaintiff prays for punitive and exemplary damages from and against
  12   individual defendants and each of them in an amount according to proof at trial.
  13                                  CLAIMS FOR RELIEF
  14
                                  FIRST CLAIM FOR RELIEF
  15                    BY PLAINTIFF AGAINST ALL DEFENDANTS
                      (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))
  16

  17         38. This cause of action is brought by Plaintiff for treble damages for injury to
  18   his business or property including but not limited to lost employment and accrued
  19
       interest resulting from the conduct alleged herein, which violates the provisions of 18
  20
       U.S.C. §§ 1961-1968 (hereafter "RICO").
  21
             39. The following constitute an enterprise within the meaning of RICO generally
  22
       and 18 U.S.C. § 1961(4) specifically:
  23

  24
                    a. The Maywood-Cudahy Police Department;

  25                b. The City of Maywood;

  26                c. Maywood Club Towing Company;
  27                d. The Association in Fact of defendants City of Maywood, Maywood-
  28

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   1         Cudahy Police Department, Maywood Club Towing Company (“the AIF
   2         Enterprise”).
   3         40. Plaintiff is informed and believes and thereon alleges that each enterprise
   4
       alleged herein is an entity distinct from the pattern of racketeering activity alleged
   5
       herein; is or was an ongoing organization, formal or informal; and functions or
   6
       functioned as a continuing unit, to wit:
   7
                    a. The City of Maywood is a public entity with a formal structure and
   8

   9         capacity engaging in a wide range of activities, only part of which entails the

  10         pattern of racketeering activity alleged in this complaint. The defendants charged
  11         with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
  12         things, engaging in bribery, obstruction of justice, and fraud.
  13                b. The Maywood-Cudahy Police Department is a subdivision of the City
  14
             of Maywood and City of Cudahy whose charge is enforcement of the laws of the
  15
             State of California and the Cities of Maywood and Cudahy, in which capacity it
  16
             has a formal structure and engages in a wide range of activities, only part of
  17
             which entails the pattern of racketeering activity alleged in this complaint. The
  18

  19         defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated

  20         by, among other things, bribery, extortion, obstruction of justice, and kidnaping.
  21                c. Maywood Club Towing Company is a formally organized business
  22         entity engaged in the business of towing and impounding vehicles under a variety
  23         of circumstances, only part of which entails the pattern of racketeering activity
  24
             alleged in this complaint. The defendants charged with operating it under 42
  25
             U.S.C. § 1962 (c) were animated by, among other things, the common purpose of
  26
             unlawfully impounding vehicles in order to collect and receive the illegal charges
  27
             resulting from the impound, and implemented the illegal scheme by mail fraud
  28

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   1         and bribery.
   2                d. The AIF Enterprise had an ascertainable structure, comprised of the
   3         Maywood-Cudahy Police Department, Maywood Club Towing Company, and the
   4
             key individuals who directed the enterprise’s unlawful activities which included
   5
             but are not limited to Pine and Does. This structure was distinct from the pattern
   6
             of racketeering activity in that the enterprise’s activities encompassed both lawful
   7
             and unlawful activities. The AIF Enterprise’s associates were animated by
   8

   9         common purposes, including but not limited to unlawfully and fraudulently

  10         impounding vehicles to collect and receive the illegal charges resulting from the
  11         impound and receive kickbacks, and to cover up and conceal their activities by
  12         obstructing justice in state and federal civil and criminal proceedings by means
  13         of a code of silence. The AIF Enterprise functioned as a continuing unit with
  14
             continuity in both structure and personnel.
  15
             41. The activities of the enterprises affect interstate commerce in numerous ways,
  16
       including but not limited to: 1) the use of interstate mail, telephone and wires (including
  17
       transmission and dissemination of false arrests and false criminal charges); 2) the
  18

  19   purchase of materials for use in the enterprises which materials were in the stream of

  20   interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police
  21   Department, received through the stream of interstate commerce; 4) oversight by federal
  22   governmental entities of various of the activities of the Maywood-Cudahy Police
  23   Department and/or the City of Maywood, involving interstate travel and the expenditure
  24
       of funds through the stream of interstate commerce; 5) the interstate travel of various
  25
       of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to
  26
       do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
  27
       herein, of members of the Maywood-Cudahy Police Department from California to Las
  28

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   1   Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
   2   in furtherance of the pattern of racketeering activity alleged herein that reached the
   3   purchasers through the stream of interstate commerce.
   4
             42. Defendants’ racketeering activities included but are not limited to the
   5
       following:
   6
                    a. Condoning and encouraging the fabrication of evidence including but
   7
             not limited to the filing of materially false police reports in tended to be used in
   8

   9         state and federal civil and criminal proceedings;

  10                b. Condoning and encouraging a "code of silence," which keeps and/or
  11         dissuades employees from reporting the misdeeds of fellow employees, and/or
  12         causes and/or facilitates the preparation, submission and use of false official
  13         reports, and/or making false official statements, and/or perjury; and which thereby
  14
             obstructs justice in official proceedings, including but not limited to state and
  15
             federal criminal investigations and proceedings, and/or state and federal civil
  16
             investigations and proceedings;
  17
                    c. Condoning and encouraging officers in the belief that their failure or
  18

  19         refusal to participate in the "code of silence" or to cover up or conceal the

  20         misconduct of other officers will cause them to be ostracized by other officers,
  21         will adversely affect their ability to get support from other officers in dangerous
  22         and/or life-threatening situations in the field and will adversely affect their
  23         opportunities for promotion and other employment benefits, and which thereby
  24
             obstructs justice in official proceedings, including but not limited to state and
  25
             federal criminal investigations and proceedings, and/or state and federal civil
  26
             investigations and proceedings;
  27
                    d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  28

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   1         and/or other wrongful and/or illicit compensation, which has the effect of
   2         strengthening defendants’ code of silence and conspiracy to obstruct justice by
   3         making all department employees, including but not limited to supervisors,
   4
             vulnerable to accusations of misconduct and unable and/or unwilling to
   5
             accurately report misconduct, and/or to supervise and/or discipline subordinates.
   6
             43. Plaintiff is informed and believes that defendants’ code of silence and
   7
       conspiracy to obstruct justice is and was operative in many state and federal
   8

   9   proceedings, including but not limited to the following federal cases:

  10                  a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV
  11         99-9898 CBM (Ex);
  12                  b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
  13         (FMOx);
  14
                      c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
  15
                      d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613
  16
             PSG (FFMx);
  17
                      e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG
  18

  19         (JCx);

  20                  f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (Jcx);
  21                  g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);
  22                  h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
  23                  i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
  24
                      j. Densmore v. Maywood, et.al., CV 06-3535 PSG (Rzx).
  25
       ///
  26
       ///
  27
       ///
  28

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   1                             SECOND CAUSE OF ACTION
                           (Violation of Civil Rights - 42 U.S.C. § 1983)
   2                            Monell and Supervisorial Liability
   3         44. Plaintiff is informed and believes and thereon alleges that at all times herein
   4
       mentioned, above named defendants with deliberate indifference, gross negligence
   5
       and/or reckless disregard for the safety, security and constitutional and statutory rights
   6
       of Plaintiff maintained, enforced, tolerated, permitted, acquiesced in, and/or applied
   7
       inter alia policies and practices which included directing and controlling the unlawful
   8

   9   acts complained of herein.

  10         45. Said defendants and each of them, acting under color of state law, have
  11   deprived Plaintiff of rights, privileges, and immunities secured by the Constitution and
  12   laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  13   the United States Constitution by inter alia maintaining, enforcing, tolerating,
  14
       permitting, acquiescing and, and/or applying the policies and practices set forth above.
  15
       As a direct and proximate result of those policies and practices, Plaintiff sustained injury
  16
       and damage as described herein.
  17
             46. Plaintiff is informed and believes and thereon alleges that the supervisorial
  18

  19   defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants

  20   herein to engage in the unlawful and unconstitutional actions, policies, and practices set
  21   forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law
  22   enforcement behavior, and statutory and constitutional violations based either on a
  23   deliberate plan by defendants or on defendants' deliberate indifference, gross
  24
       negligence, or reckless disregard for the safety, security and constitutional and statutory
  25
       rights of Plaintiff which violations include:
  26
                    a. Stopping, detaining, and/or arresting people and/or entering homes,
  27
             and/or searching and/or seizing property and people, without required warrants,
  28

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   1       reasonable suspicion and/or probable cause;
   2             b. Using unreasonable and/or excessive force;
   3             c. Allowing and/or encouraging employees to brutalize, hurt and/or injure
   4
           members of the public, by failing to require effective use-of-force training,
   5
           supervision, discipline and reporting, including but not limited to not requiring
   6
           employees to report uses of force, by permitting and/or encouraging false and/or
   7
           misleading and/or incomplete reporting, and/or by failing adequately to monitor
   8

   9       employee uses of force;

  10             d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  11       conduct and/or racially motivated attacks on minority members of the community,
  12       and/or using racist speech when speaking with minorities and/or denigrating the
  13       race and/or nationality of minority members of the community;
  14
                 e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
  15
           members of the community, including minors;
  16
                 f.   Failing adequately to investigate incidents involving the use of
  17
           unreasonable force and/or other misconduct;
  18

  19             g. Conducting investigations in such a manner as to conceal misconduct,

  20       including but not limited to using investigative techniques and procedures known
  21       to have that effect;
  22             h. Condoning and encouraging the fabrication of evidence including but
  23       not limited to the filing of materially false police reports;
  24
                 i. Condoning and encouraging a "code of silence," which keeps and/or
  25
           dissuades employees from reporting the misdeeds of fellow employees, and/or
  26
           causes and/or facilitates the preparation, submission and use of false official
  27
           reports, and/or making false official statements, and/or perjury; and which thereby
  28

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   1         obstructs justice in official proceedings, including but not limited to state and
   2         federal criminal investigations and proceedings, and/or state and federal civil
   3         investigations and proceedings;
   4
                    j. Condoning and encouraging officers in the belief that their failure or
   5
             refusal to participate in the "code of silence" or to cover up or conceal the
   6
             misconduct of other officers will cause them to be ostracized by other officers,
   7
             will adversely affect their ability to get support from other officers in dangerous
   8

   9         and/or life-threatening situations in the field and will adversely affect their

  10         opportunities for promotion and other employment benefits, and which thereby
  11         obstructs justice in official proceedings, including but not limited to state and
  12         federal criminal investigations and proceedings, and/or state and federal civil
  13         investigations and proceedings;
  14
                    k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  15
             and/or other wrongful and/or illicit compensation, which has the effect of making
  16
             supervisors within the department vulnerable to accusations of misconduct and
  17
             unable and/or unwilling to effectively supervise and/or discipline subordinates;
  18

  19                l. Hiring individuals who are unsuited for police work, including but not

  20         limited to hiring individuals who have been fired or disciplined by other law
  21         enforcement agencies because they engaged in misconduct; and/or failing to
  22         conduct appropriate and/or required background investigations.
  23         47. Defendants and each of them, acting under color of state law, have deprived
  24
       Plaintiff of rights, privileges, and immunities secured by the Constitution and laws of
  25
       the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
  26
       United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
  27
       acquiescing and, and/or applying the policies and practices set forth above. As a direct
  28

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   1   and proximate result of those policies and practices, Plaintiff has sustained injury and
   2   damage as described hereinafter.
   3         48. Plaintiff is informed and believes and thereon alleges that defendant entities
   4
       and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
   5
       other defendants herein to engage in the unlawful and unconstitutional actions, policies,
   6
       and practices set forth above. Defendants' conduct alleged herein constitutes a pattern
   7
       of intimidation, illicit law enforcement behavior, and statutory and constitutional
   8

   9   violations based either on a deliberate plan by defendants or on defendants' deliberate

  10   indifference, gross negligence, or reckless disregard for the safety, security and
  11   constitutional and statutory rights of Plaintiff.
  12                               THIRD CAUSE OF ACTION
                           (Violation of Civil Rights - 42 U.S.C. § 1983)
  13                       Against All Individually Named Defendants
  14
             49. Defendants and each of them, acting under color of state law, did without
  15
       probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
  16
       molest and write false reports about Plaintiff, and did do all of the above in a
  17
       conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
  18

  19   against Plaintiff and to conceal their own wrongdoing and did also do so to intimidate

  20   Plaintiff’s witness(es) in said criminal prosecutions for the same improper purposes, all
  21   of which were intended with deliberate indifference of and reckless disregard for
  22   Plaintiff’s constitutional rights under the First, Fourth and Fourteenth Amendments to
  23   the United States Constitution. As a direct and proximate result of defendants' acts,
  24
       Plaintiff sustained injury and damage as set forth herein.
  25
                                FOURTH CAUSE OF ACTION
  26                            (Violation of 42 U.S.C. §1985(2))
                           Against All Individually Named Defendants
  27
             50. Defendants, and two or more of them, in the State of California, County of
  28

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   1   Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against
   2   minorities, including Plaintiff’s Latino heritage and invidious animus, conspired
   3   together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)
   4
       impeding, hindering, obstructing, and defeating the due course of justice in the State of
   5
       California and County of Los Angeles, (ii) to deny Plaintiff his right to free speech, (iv)
   6
       to deny equal protection of the laws to Plaintiff and (v) to subject Plaintiff’s persons and
   7
       property to unlawful search and seizure thereby depriving Plaintiff of immunities
   8

   9   secured by the Constitution and the laws of the United States, including the First, Fourth

  10   and Fourteenth Amendments to the Unites States Constitution, by, inter alia, ordering,
  11   authorizing, maintaining, enforcing, tolerating, ratifying, permitting, acquiescing in,
  12   and/or applying the policies and practices set forth hereinabove. Defendants' conspiracy
  13   was and is motivated by animus directed against Plaintiff because of his race, color or
  14
       national origin, and/or by the race, color, or national origin of persons with whom they
  15
       associated, and/or by other class-based, invidiously discriminatory animus directed
  16
       against Plaintiff. In furtherance of the conspiracy one or more of the defendants
  17
       committed one or more of the overt acts set forth hereinabove which did in fact deprive
  18

  19   Plaintiff of equal rights, privileges or immunities.

  20         51. Defendants, and each of them, purposefully, under color of law, planned and
  21   conspired to deny Plaintiff equal protection of the laws in the following respects:
  22                a. to deny the right to be free from unreasonable search and seizure;
  23                b. to deny the right not to be deprived of life, property or liberty without
  24
             due process of law;
  25
                    c. to deny the right of free speech;
  26
                    d. to be free from use of excessive force.
  27
             52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
  28

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   1   §1985(2).
   2         53. As a direct and proximate result of the foregoing, Plaintiff has been damaged
   3   as recited above and demand and isentitled to the damages recited above, including, but
   4
       not limited to, general and punitive damages (except entities) and attorney's fees.
   5
                                   FIFTH CAUSE OF ACTION
   6                              (Violation of 42 U.S.C. §1985(3))
                             Against All Individually Named Defendants
   7
             54. By virtue of the foregoing, Defendants, and two or more of them, conspired
   8

   9   for the purpose of:

  10                a. depriving Plaintiff of (1) equal protection of the law; and (2) liberty and
  11         property without due process of law.
  12         55. Defendants, and each of them, did and caused to be done, an act or acts in
  13   furtherance of the object of the conspiracy, whereby Plaintiff was deprived of the rights
  14
       and privileges as set forth above.
  15
             56. As a direct and proximate result of the foregoing, Plaintiff is entitled to and
  16
       demands damages against defendants, jointly and severally, as recited in the First and
  17
       Second Causes of Action, including, but not limited to, general and punitive damages
  18

  19   (except entities) and attorneys fees.

  20                              SIXTH CAUSE OF ACTION
                        (California Constitution, Article I, §§ 1, 7, and 13)
  21                                 Against All Defendants
  22         57. The conduct of each defendant in detaining, searching, arresting, and
  23   assaulting Plaintiff and in threatening and in doing or failing to do the other wrongful
  24
       acts herein alleged was done for the purpose of interfering with and attempting to
  25
       interfere with Plaintiff’s rights to freedom of expression, to be free from unreasonable
  26
       invasions of their privacy and unreasonable search and seizure, and to be accorded due
  27
       process and equal protection under Article I, §§ 1, 7 and 13 of the California
  28

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   1   Constitution.
   2                              SEVENTH CAUSE OF ACTION
   3
                                    (California Civil Code §52.1)
                                      Against All Defendants
   4
              58. The conduct of each defendant in detaining, searching, and assaulting
   5
       Plaintiff and in threatening and in doing or failing to do the other wrongful acts herein
   6
       alleged was done for the purpose of interfering with and attempting to interfere with
   7
       Plaintiff's rights under the First, Fourth and Fourteenth Amendments and Plaintiff's right
   8

   9   to freedom of expression, to be free from unreasonable invasions of his privacy and

  10   unreasonable search and seizure and accorded due process and equal protection under
  11   Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
  12   Plaintiff's rights under California Civil Code Section 52.1(b). Plaintiff is informed and
  13   believes and thereon alleges that the defendants’ wrongful acts were done maliciously
  14
       and criminally and for the purpose of inflicting injury on Plaintiff.
  15
              59.   As the proximate cause of defendants’ and each of their conduct as
  16
       hereinbefore alleged, Plaintiff has been damaged in an amount not presently ascertained,
  17
       but subject to proof at trial.
  18

  19          60. Plaintiff is informed and believes and thereon alleges that Defendants’ and

  20   each of their conduct was malicious, willful, fraudulent and oppressive, done with a
  21   conscious disregard for Plaintiff’s rights and with the intent to injure Plaintiff, thereby
  22   justifying the award of exemplary damages (except for entities) in a sum to be
  23   determined according to proof.
  24
                                   EIGHTH CAUSE OF ACTION
  25                             (California Civil Code Section 51.7)
                                       Against All Defendants
  26
              61. Plaintiff is informed and believes and thereon alleges that the conduct of each
  27
       defendant in using force upon and injuring Plaintiff and in threatening and attempting
  28

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   1   to use force upon and injure Plaintiff, and in doing or failing to do the other wrongful
   2   acts herein alleged was motivated by defendants' invidious racial and/or ethnic and/or
   3   other impermissible animus toward Plaintiff, and for that reason violated Plaintiff’s
   4
       rights under California Civil Code § 51.7. Plaintiff is informed and believes and thereon
   5
       alleges that the defendants’ wrongful acts were done maliciously and criminally and for
   6
       the purpose of inflicting injury on Plaintiff.
   7
                                    NINTH CAUSE OF ACTION
   8                                   (Assault and Battery)
   9                                   Against all Defendants

  10          62. At the date, time and location, defendants, and each of them, as either
  11   employees, supervisors or employees in the course and scope of their duties
  12   intentionally and maliciously abused Plaintiff by reason of the acts alleged herein above
  13   causing Plaintiff, without provocation, necessity or lawful justification, to suffer said
  14
       violations of their civil rights.
  15
              63. As a proximate result of the acts of defendants, and each of them, as herein
  16
       alleged, Plaintiff was compelled to expend money all to their damage in an amount
  17
       according to proof.
  18

  19          64. As a proximate result of the acts of defendants, and each of them, Plaintiff

  20   was injured in health, strength and activity, sustaining injuries to his body and shock
  21   and injury to his nervous systems and persons; all of which injuries have caused Plaintiff
  22   to suffer severe pain and mental anguish.
  23          65. As a further proximate result of the acts of defendants, and each of them,
  24
       Plaintiff was required to and/or did employ physicians and surgeons for medical
  25
       examination, treatment and care of injuries, and did incur medical and incidental
  26
       expenses. Plaintiff did incur and will incur further treatment, the exact amount of which
  27
       is unknown at this time.
  28

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   1         66. As a further proximate result of the acts of defendants, Plaintiff was
   2   prevented from attending to his usual occupations and thereby lost earnings and income.
   3         67. The acts of defendants, and each of them, were willful, malicious and
   4
       oppressive, in conscious disregard of Plaintiff’s known rights and thereby justify the
   5
       awarding of exemplary damages (except entities) according to proof.
   6
                                  TENTH CAUSE OF ACTION
   7                       (Intentional Infliction of Emotional Distress)
                                      Against all Defendants
   8

   9         68. Plaintiff was entitled to the due care, service and protection of the entities and

  10   their officers and medical staff.
  11         69. On or about the dates alleged above and thereafter, Defendants caused the
  12   Plaintiff to be unlawfully detained, seized, beaten and/or otherwise abused without
  13   reasonable cause or justification.
  14
             70. In doing the aforementioned acts, defendants’ conduct was intentional,
  15
       outrageous, malicious, and done for the specific purpose of causing Plaintiff to suffer
  16
       extreme emotional distress, indignity, fear, anxiety, and mental anguish.
  17
             71. As a direct and proximate result of the foregoing, Plaintiff has suffered, and
  18

  19   continue to suffer, severe mental, emotional and physical distress and are entitled to and

  20   demands damages against defendants.
  21                          ELEVENTH CAUSE OF ACTION
                           (Negligent Employment Civil Code §1714)
  22                       Against Entities and Supervisor Defendants
  23         72. Defendant entities and supervisor defendants knew or in the exercise of due
  24
       care should have known, that individually named defendants and Does 1 Through 30
  25
       inclusive, and each of them, had a propensity, character trait, and practice for
  26
       dishonesty, deception, abuse of authority, harassment, and violence without justification
  27
       against Plaintiff and other members of the public.
  28

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   1         73. At all times material herein, said Defendant entities and supervisors knew or
   2   with reasonable care should have known, that the aforedescribed traits of character,
   3   practices and propensities of defendants and Does 1 through 30 inclusive, and each of
   4
       them, made them unfit to serve as law enforcement officers.
   5
             74.    Notwithstanding such knowledge, Defendant entities and supervisors
   6
       negligently and carelessly employed and retained and failed to properly supervise, train
   7
       and control defendants and Does 1 through 30 inclusive, and each of them, as employees
   8

   9   and assigned said defendants to duties which enabled each of them to abuse their

  10   authority, including but not limited to making unlawful detentions and arrests by use of
  11   excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
  12   fraudulent and malicious criminal prosecution of innocent persons while purporting to
  13   act under the color of law.
  14
             75. As a proximate result of the negligent retention and supervision of defendant
  15
       entities and supervisors and each of them, Plaintiff suffered damages and injuries,
  16
       including but not limited to false arrests/detentions, beatings, malicious prosecutions,
  17
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
  18

  19   to the Plaintiff’ damage in a sum according to proof.

  20                               TWELFTH CAUSE OF ACTION
                                    (Negligence/Civil Code § 1714))
  21                                    Against All Defendants
  22         76. Plaintiff alleges that by the actions or omissions set forth above, all
  23   defendants failed to use and exercise reasonable care as is required by Civil Code §
  24
       1714. In particular, defendants failed to exercise reasonable care in its conduct in the
  25
       exercise of their duties.
  26
             77. As a proximate result of the negligence and carelessness of defendants, and
  27
       each of them, Plaintiff suffered damages as alleged above in a sum according to proof.
  28

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   1                                   INJUNCTIVE RELIEF
   2         78. Plaintiff is informed and believes and thereon alleges that, unless enjoined,
   3   as requested in the prayer, defendants will continue to engage in the unlawful acts and
   4
       in the policies and practices described above, in violation of the legal and constitutional
   5
       rights of the Plaintiff. Plaintiff face the real and immediate threat of repeated and
   6
       irreparable injury and continuing, present adverse effects as a result of the unlawful
   7
       misconduct, policies and practices of the defendants. Plaintiff has no adequate and
   8

   9   complete remedy at law.

  10                                          PRAYER
  11             Wherefore, Plaintiff prays judgment against defendants and each of them, as
  12   follows:
  13      As to each cause of action at to each Plaintiff as applicable:
  14
             1. For general damages according to proof;
  15
             2. For special damages according to proof;
  16
             3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
  17
       California Code of Civil Procedure 1021.5, and under any other applicable statute or
  18

  19   theory;

  20         4. For punitive damages against each individual Defendant;
  21         5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
  22   California Code of Civil Procedure 1021.5, and under any other applicable statute or
  23   theory;
  24
             6. For costs of suit;
  25
             7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
  26
       regulations, practices, customs, and usages that the defendants engaged in as set forth
  27
       above violate the legal and constitutional rights of the Plaintiff.
  28

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   1         8. Permanently enjoining defendants and their agents, employees, and successors,
   2   and all persons in active concert or participation with defendants, from engaging in the
   3   unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and
   4
       usages set forth above.
   5
             9. Placing the Maywood-Cudahy Police Department under the direct supervision
   6
       and control of a receiver or special master to be appointed by the Court; directing the
   7
       receiver or special master to review all existing written and unwritten policies and
   8

   9   procedures of defendants with respect to the acts, policies, rules, regulations, practices,

  10   customs, and usages set forth above; directing the receiver or special master to modify,
  11   amend, or revoke, or to confirm and enforce, existing policies and procedures and to
  12   establish such new or additional written policies and procedures as may be necessary
  13   and proper; and directing the receiver or special master to implement and enforce
  14
       appropriate written policies and procedures with respect to the following subjects,
  15
       among others:
  16
                      a. Ensuring compliance with constitutional standards governing the use of
  17
             firearms, the use of force, the conduct of searches, and the use of deadly force.
  18

  19                  b. Providing adequate training, certification, and periodic recertification

  20         of all officers in the lawful use of force, including firearms and other deadly
  21         force.
  22                  c. Specifying departmentally approved weaponless control techniques,
  23         and providing for adequate training, certification, and periodic recertification of
  24
             all officers in the use of such techniques.
  25
                      d. Ensuring that members of the public injured by officers receive prompt
  26
             and appropriate medical care, and that their injuries are catalogued and recorded
  27
             in police reports and by photographs of all such injuries.
  28

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   1             e. Requiring that all persons in custody be transported to a hospital for
   2       examination and treatment by a medical doctor whenever:
   3                    i.     the person sustains a head injury, strikes his or her head on a
   4
                               hard object, or sustains a blow to the head, regardless of how
   5
                               minor any such injury may appear;
   6
                        ii.    the person is choked or is subjected to any control hold
   7
                               involving the neck, regardless of whether or not the person is
   8

   9                           rendered unconscious;

  10                    iii.   the person has any injuries that appear to require medical
  11                           attention;
  12                    iv.    the person requests medical treatment, regardless of whether
  13                           or not the person has any apparent injuries.
  14
                 f. Prohibiting the use of saps in any circumstances, and prohibiting the use
  15
           of head strikes and strikes to other vital areas of the body by batons or
  16
           flashlights, punches or kicks, except in cases where there is legal justification for
  17
           the use of deadly force.
  18

  19             g. Requiring that searches be conducted in a manner which inflicts the

  20       least amount of damage necessary in order to conduct an adequate search; that
  21       officers be required to photograph or videotape the premises before and after each
  22       and every search; that officers return to their original location and condition all
  23       items displaced in any search; and that the Maywood-Cudahy Police Department
  24
           pay for the repair or replacement of any property unnecessarily damaged or
  25
           destroyed in the course of any search.
  26
                 h. Recording in writing each instance in which an officer is involved in the
  27
           use of force in arresting a suspect or in detaining any person, regardless of
  28

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   1       whether an arrest is made.
   2              i. Requiring that any officer who participates in or witnesses any incident
   3       involving the use of force by an officer shall prepare and submit a departmental
   4
           report containing detailed information regarding the incident, including:
   5
                         i.     A full description of the actions of the suspect or member of
   6
                                the public which made the use of force necessary;
   7
                         ii.    A full description of the specific force used or observed by
   8

   9                            the officer;

  10                     iii.   A full description of any injuries or complaints of injuries
  11                            sustained by the suspect or member of the public, including
  12                            photographs or videotapes of the suspect or member of the
  13                            public;
  14
                         iv.    A full description of any medical treatment received by and
  15
                                any refusal of such treatment by the suspect or member of the
  16
                                public.
  17
                  j. Establishing a system that allows an immediate on-duty supervisor to
  18

  19       readily access a historical record of any officer who has used force in a period of

  20       at least the last 5 years, including the identity of the officer(s) involved in the use
  21       of force, the file number(s) of the report(s) in which the use of force is reported,
  22       and a description of the nature of the force used (e.g., "intentional head strike
  23       with baton"; "accidental head strike with flashlight"); requiring periodic review
  24
           of such records for patterns of unjustified use of force by officers and institution
  25
           of disciplinary proceedings where appropriate; requiring review of such records
  26
           whenever a supervisor prepares a departmental performance evaluation of any
  27
           officer; and requiring that performance evaluations include documentation of any
  28

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   1       patterns concerning the unjustified use of force.
   2             k. Providing that, in any situation in which deadly force has been used by
   3       an officer and death or serious injuryhas resulted, there shall be an administrative
   4
           review of the use of force to determine whether it was in compliance with
   5
           departmental policy and constitutional standards, and whether departmental
   6
           policy should be modified in view of the circumstances surrounding the use of
   7
           such force.
   8

   9             l. Requiring that, in departmental investigations of officer-involved

  10       shootings, other use of deadly force by officers, or complaints of officer
  11       misconduct:
  12                     i.     all percipient witnesses (including officers) be segregated
  13                            from each other as soon as practicable after the incident;
  14
                         ii.    such witnesses not be permitted to discuss the incident with
  15
                                any other witness until after all witnesses have been
  16
                                interviewed by departmental investigators;
  17
                         iii.   such witnesses not be informed of the contents or substance
  18

  19                            of the statements of other witnesses until after all witnesses

  20                            have been interviewed by departmental investigators; and
  21                     iv.    all witness interviews, including interviews of involved
  22                            officers, be fully and completely tape-recorded.
  23             m. Indexing by individual officer and maintaining files of complaints by
  24
           members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
  25
           officer misconduct; adequately investigating such complaints, claims, and
  26
           lawsuits; and using such files to monitor the conduct of officers.
  27
                 n. Requiring psychological testing and counseling of officers with a record
  28

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   1       of using unreasonable or excessive force, making false arrests, filing false
   2       charges, engaging in related acts of dishonesty, or engaging in racially motivated
   3       misconduct.
   4
                 o. Maintaining a promotional system which penalizes officers for instances
   5
           of unjustified use of firearms or unjustified use of force, violence, sexual
   6
           innuendo, dishonesty, racial or ethnic bias, or other misconduct.
   7
                 p.   Requiring dismissal of officers involved in instances of sexual
   8

   9       misconduct, and/or repeatedly involved in instances ofunjustified use of firearms

  10       or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
  11       misconduct.
  12             q. Requiring that, where an investigation discloses any improper use of
  13       force by an officer, particularly improper use of force which causes serious bodily
  14
           injury as defined in Cal. Penal Code § 243, that matter should be referred to the
  15
           District Attorney's Office for consideration of filing a criminal complaint.
  16
                 r. Requiring that, whenever any officer has been judicially determined to
  17
           have engaged in a violation of constitutional or civil rights, whenever a monetary
  18

  19       settlement has been made or a judgment has been rendered based on the use of

  20       excessive force by an officer, or whenever any arrest has been made as to which
  21       an officer claims to be the victim of a crime:
  22                     i.    a departmental investigation be conducted, regardless of any
  23                           earlier investigation or the findings thereof;
  24
                         ii.   The investigators review all evidence introduced at trial or
  25
                               provided to them by any person, and that they interview all
  26
                               known witnesses including Plaintiff's trial experts, and
  27
                               interview Plaintiff's counsel in any lawsuit alleging officer
  28

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   1                             misconduct;
   2                      iii.   a full report be made to the Chief of Police and to the receiver
   3                             or special master with recommendations for or against
   4
                                 disciplinary or criminal sanctions against the officer.
   5
                  s. Directing that the defendants seek tangible ways (for example, through
   6
            disciplinary measures) to establish the principle that racial and ethnic bias will not
   7
            be tolerated within the Maywood-Cudahy Police Department, and that the
   8

   9        defendants establish an adequate program of cultural awareness training and

  10        periodic retraining to eliminate racial or ethnic stereotypes for all officers.
  11              t. Directing that the defendants seek tangible ways to establish the
  12        principle that gender bias and discrimination and sexual misconduct will not be
  13        tolerated within the Maywood-Cudahy Police Department, and that the
  14
            defendants establish an adequate program of gender awareness training and
  15
            periodic retraining to eliminate any and all gender discrimination and sexual
  16
            misconduct.
  17
            10. For such other and further relief as the Court may deem proper.
  18

  19   DATED: May 12, 2008

  20                             CYNTHIA ANDERSON-BARKER
                                  ELLEN HAMMILL ELLISON
  21                                    OLU ORANGE
                                       ROBERT MANN
  22                                 DONALD W. COOK
                                      ATTORNEYS AT LAW
  23

  24

  25                      By ___________________________________
                                      Donald W. Cook
  26                                Attorneys for Plaintiff
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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demands a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                                By
  10                                    Donald W. Cook
                                      Attorneys for Plaintiff
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